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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 U.S. NAVY SEALs 1-26, et al.,                     §
                                                   §
      Plaintiffs,                                  §
                                                   §
 v.                                                §    Civil Action No. 4:21-cv-01236-O
                                                   §
 LLOYD J. AUSTIN, III, et al.,                     §
                                                   §
                                                   §
      Defendants.                                  §


                                               ORDER

         Before the Court are three Motions for Release from Class Action (ECF Nos. 162,

163, 180), filed May 27, May 31, and June 10, 2022. The three movants, purported Navy

Class members, seek to voluntarily separate from the Navy for personal reasons. The Court

ordered both Plaintiffs and Defendants to respond to movants’ claims. ECF No. 164. They

did so on June 8, 2022. See ECF No. 175, 177.

         The Court’s order certifying the class and granting class-wide injunctive relief contains the

following language:

         Defendant[s] claim that some potential class members may prefer to litigate
         independently or avoid legal action altogether, “preferring to comply with a lawful
         order after their administrative claim is decided and maintain their military service
         without litigation, or . . . choose to leave the service or retire.” Defs.’ Class Cert.
         Resp. 22, ECF No. 120. If—and indeed, if—such servicemembers exist, they may
         choose to get vaccinated, withdraw their religious accommodation requests,
         voluntarily separate, or proceed with retirement plans. The potential class members,
         then, are those who seek to remain in the Navy and refuse to compromise their
         religious beliefs (i.e., continue to forgo the vaccine).

Order 15, ECF No. 140.

         Plaintiffs argue the order expressly permits movants to voluntarily separate from the Navy.

Pls.’ Resp. 1, ECF No. 177. In the event the Court resolves the matter without hearing, Plaintiffs


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have requested an order “requiring Defendants’ compliance with the preliminary injunction by . . .

allowing class members to choose to separate from the Navy (whether by “Involuntary

Separation,” “Voluntary Separation,” or requirement per the Navy’s terms)” among other

unrelated requests. Id. at 8. Defendants largely agree—they argue “the Court should find that [the

movants] are no longer members of the class so that their administrative separation may proceed.”

Defs.’ Resp. 1, ECF No. 175. Defendants “expect to promulgate new guidance” allowing

separation for those who withdraw their religious accommodation requests (and, by definition, are

no longer class members). Id.

       Accordingly, the Court GRANTS the Motions (ECF Nos. 162, 163, 180) because

the three movants no longer fit within the class definition. Though at least two of the

servicemembers are not currently eligible for voluntary separation due to outstanding service

obligations, Defs.’ Resp. 6, ECF No. 175, they may pursue involuntary administrative separation

under honorable conditions. See NAVADMIN 256/21, part 2.a. Future servicemembers like

movants may pursue separation without permission from the Court, because under the existing

class certification language, those who “choose to get vaccinated, withdraw their religious

accommodation requests, voluntarily separate, or proceed with retirement plans” are no longer

class members. Order 15, ECF No. 140.

       Having resolved the Motions, the Court finds that Plaintiffs’ request for hearing should be

and is hereby DENIED.

      SO ORDERED on this 13th day of June, 2022.

                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE




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